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                           UNITED STATES DISTRICT COURT
                        FOR THE NORTHERN DISTRICT OF TEXAS
                                  DALLAS DIVISION

IRONCLAD PERFORMANCE WEAR
CORPORATION,

        Plaintiff,
                                                             Case No. 3:15-cv-03453-D
v.

ORR SAFETY CORPORATION,

        Defendant


                                   APPENDIX IN SUPPORT OF
                                     MOTION TO COMPEL


        Pursuant to Local Rules 7.1(i) and 7.2(e), Defendant, ORR Safety Corporation (“ORR

Safety”), hereby submits this Appendix in Support of its Motion to Compel. Each page of this

Appendix is numbered sequentially in the lower, right-hand corner. ORR Safety relies on the

following evidence in support of its Motion to Compel filed contemporaneously herewith, and

this evidence is incorporated into that Motion as if set forth therein in full:

        Attached are the following documents:

                      TITLE OF DOCUMENT                    APPENDIX PAGE(S)

                 Excerpts of ORR Safety                            1-5
                 Corporation’s First Discovery
                 Requests to Ironclad
                 Performance Wear
                 Excerpts of Plaintiff’s                           6-10
                 Responses to Defendant’s
                 First Set of Discovery
                 Requests
                 May 25-26, 2016 E-mails                          11-13
                 between J. Stinnett and M.
                 Sherman
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          June 1 and June 2, 2016 E-                   14-16
          mails from J. Stinnett to M.
          Sherman, et al.
          June 10, 2016 Letter from M.                 17-19
          Sherman to J. Stinnett
          April 25, 2014 Email from                    20-22
          Clayton to Cordes


                             Respectfully submitted,

                              s/ Jennifer Metzger Stinnett
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                                CERTIFICATE OF SERVICE

        On June 17, 2016 I electronically submitted the foregoing document with the clerk of court
for the U.S. District Court, Northern District of Texas, using the electronic case filing system of the
court. I hereby certify that I have served all counsel of record electronically or by another manner
authorized by Federal Rule of Civil Procedure 5(b)(2).

                                     s/ Jennifer Metzger Stinnett
                                     Counsel for Defendant and Counterclaim Plaintiff ORR Safety
                                     Corporation
